952 F.2d 408
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Douglas LOW, Defendant-Appellant.
    No. 91-10016.
    United States Court of Appeals, Ninth Circuit.
    Submitted Dec. 9, 1991.*Decided Dec. 17, 1991.
    
      Before ALDISERT,** GOODWIN and NOONAN, Circuit Judges.
    
    
      1
      ORDER***
    
    
      2
      The judgment of the district court is AFFIRMED.   United States v. Echegoyen, 799 F.2d 1271, 1278-79 (9th Cir.1986).
    
    
      
        *
         The panel finds this case appropriate for submission without oral argument pursuant to Fed.R.App.P. 34(a) and Ninth Cir.R. 34-4
      
      
        **
         The Honorable Ruggero L. Aldisert, Senior Circuit Judge, United States Court of Appeals for the Third Circuit, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Cir.R. 36-3
      
    
    